            Case 17-01035       Doc 43
                                    Filed 02/20/19 Entered 02/20/19 15:51:55 Desc Main
                                      Document     Page 1 of 1
                  UNITED STATES BANKRUPTCY COURT, DISTRICT OF MASSACHUSETTS
                                 Proceeding Memorandum/Order of Court

In Re:                                                     Case Number:                               Ch:

MOVANT/APPLICANT/PARTIES:




OUTCOME:
_____Granted_____Denied_____Approved_____Sustained
_____Denied_____Denied without prejudice_____Withdrawn in open court_____Overruled
_____OSC enforced/released
_____Continued to:__________________________For:______________________________________________
_____Formal order/stipulation to be submitted by:________________Date due:____________________
_____Findings and conclusions dictated at close of hearing incorporated by reference
_____Taken under advisement: Brief(s) due_______________________From_________________________
                              Response(s) due____________________From_________________________
_____Fees allowed in the amount of: $________________________Expenses of: $___________________
_____No appearance/response by:_______________________________________________________________
_____DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:

Upon consideration of

1) the Plaintiff's Motion to Amend Complaint through which it seeks to add two counts for "deepening insolvency" to
its existing two-count Complaint; 2) the Opposition of Defendant Anne Howser; 3) the Opposition of Defendant
Philip Bronder-Giroux; 4) the Plaintiff's Amended Complaint filed on April 26, 2017; 5) the Plaintiff's proposed First
Amended Complaint; 6) the Defendants' Answers to the existing Amended Complaint; 7) the Court's Scheduling
Order dated May 30, 2017 and deadlines set forth therein; 8) the entire record of proceedings in this adversary
proceeding; 9) the absence of decisions in state and federal courts in Massachusetts recognizing deepening
insolvency as a separate cause of action or as a measure of damages apart from other claims for relief, such as claims
for breach of fiduciary duty, which the Plaintiff has pled in its existing Amended Complaint; 10) the Plaintiff's
failure to further amend its Amended Complaint by the deadline set forth in the Scheduling Order, as well as its
failure to seek an extension of time within which to amend its Complaint prior to the expiration of the deadline; and
11) the 22 month period within which this adversary proceeding has been pending,

Now, therefore, the Court denies the Plaintiff's Motion to Amend Complaint. The parties shall file their Joint
Pretrial Memorandum in accordance with the Scheduling Order by April 26, 2019.




IT IS SO NOTED:                                           IT IS SO ORDERED:


______________________                                    _______________________________Dated:__________
Courtroom Deputy
